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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF NEW YORK


 PINNACLE HOLDING COMPANY, LLC and
 PINNACLE EMPLOYEE SERVICES, LLC,

                                Plaintiffs,                        ORDER TO SHOW CAUSE

                 v.
                                                                                  5:24-cv-239 (GTS/TWD)
                                                                Civil Action No. ____________
 MICHAEL ALLEN and PINNACLE EMPLOYEE
 SERVICES, INC.,

                                Defendants.


        Upon the Summons and Complaint dated and filed February 16, 2024, with Exhibits A

through H, the Declaration of James P. Youngs, Es., dated and filed February 16, 2024, with

Exhibit A, and the Declaration of Elizabeth Conklin, dated and filed February 16, 2024, with

Exhibits A through Q, and an accompanying memorandum of law:

        LET the Defendants Michael Allen and Pinnacle Employee Services, Inc. show cause

before this Court, at a special term thereof, returnable before Hon. _____________________,

U.S. District Judge, at the United States District Courthouse in ______, New York, on

__________________, 2024, at _______ a.m./p.m., why an Order of this Court should not be

issued directing that:

        1.     the Defendants remove from YouTube (a) a video dated February 6, 2024 entitled

        the “PSA - Beware of this IMPOSTER…” and (b) a video dated February 9, 2024

        entitled “My Response to NY PES Cease & Desists Letter – I’M NOT LEAVING!!”,

        which were posted on PES Inc.’s YouTube channel making statements regarding the

        Plaintiffs and specifically calling the Plaintiffs an “imposter” and stating that the

        Plaintiffs were “impersonating” the Defendants (the “Videos”);



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        2.     the Defendants remove the Videos from all of the Defendants’ personal and

        business social media accounts, including but not limited to Facebook and LinkedIn;

        3.     the Defendants remove and permanently delete all posts, articles, comments and

        all other online or print publications referring to PES, LLC, Pinnacle Holding Company,

        Pinnacle Investments, or any of their corporate affiliates, parents, subsidiaries, agents,

        employees or representatives as “imposters”, “posing as” the Defendants, or stating or

        suggesting that the Plaintiffs have engaged in deceptive, fraudulent, or misleading

        activity with respect to the trademarks PINNACLE, PINNACLE EMPLOYEE

        SERVICES or any related trademarks;

        4.     the Defendants and their employees, representatives, agents, affiliates, corporate

        parents or subsidiaries or any other person acting on their behalf, refrain from further

        disseminating, publishing, or posting the Videos pending further order of this Court;

        5.     the Defendants and their employees, representatives, agents, affiliates, corporate

        parents or subsidiaries or any other person acting on their behalf, refrain from making

        any false, misleading or defamatory statements about Pinnacle Employee Services, LLC,

        Pinnacle Holding Company, Pinnacle Investments, or any of their corporate affiliates,

        parents, subsidiaries, agents, employees or representatives, including but not limited to

        statements referred to the Plaintiffs as “imposters”, “posing as” the Defendants, or stating

        or suggesting that the Plaintiffs have engaged in any deceptive, fraudulent, or misleading

        activity with respect to the trademarks PINNACLE, PINNACLE EMPLOYEE or any

        related trademarks, pending further order of this Court;

        6.     the Defendants contact all third parties to which the Defendants have made

        complaints regarding the Plaintiffs’ use of PINNACLE and/or PINNACLE EMPLOYEE




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        SERVICES, including but not limited to YouTube and Facebook, and withdraw those

        complaints, and request that all of the Plaintiffs’ accounts, posts, and activities be

        restored;

        7.        Michael Allen, individually and as owner and CEO of Pinnacle Employee

        Services, Inc. file with this Court and serve on all parties to this action a sworn statement

        within 24 hours of the execution, entry and service of such Order attesting to his

        compliance therewith; and

        8.        upon the Plaintiffs’ request, those with notice of the Order, including third party

        social media providers, shall within seven (7) calendar days after receipt of such notice,

        reinstate any accounts, postings, and related material that was previously removed due to

        facts or complaints related to such Order, including but not limited to complaints by the

        Defendants.

        And it is further ORDERED, that any answering papers shall be served on the Plaintiffs

and filed with this Court on or before __________________, 2024; and it is further

        ORDERED, that any reply papers shall be served on the Defendants and filed with this

Court on or before __________________, 2024; and it is further

        ORDERED, that service of a copy of this Order, and of the papers upon which it is

based, be made upon Defendants, by personal or substituted service, together with the Summons

and Complaint, on or before __________________, 2024, which shall be deemed good and

sufficient service thereof.


DATED :        _______________, 2024
               Syracuse, New York
                                         ENTER:         ___________________________________
                                                        Hon.
                                                        United States District Court Judge



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